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                IN THE UNITED STATES CIRCUIT COURT OF APPEALS
                                FOR THE SEVENTH CIRCUIT




JACQUELINE STEVENS,                                           Case No. 20-3504
Plaintiff-APPELLANT                                           On appeal from 17 cv 2494
                                                              Hon. Judge Lee

Vs

UNITED STATES DEPARTMENT OF
STATE,

Defendant-APPELLEE




                          APPELLANT’S DOCKETING STATEMENT



     A. Statement of Jurisdiction for the United States District Court.

        The jurisdiction of the District Court is founded on section 552(a)(4)(B) of the Freedom

of Information Act. On August 15, 2017, Plaintiff-Appellant filed her pro se complaint with the

United States District Court for the Northern District of Illinois. Jurisdiction was not disputed.

     B. Statement of Jurisdiction for the United States Court of Appeals.

        The jurisdiction of the United States Court of Appeals for the Seventh Circuit is brought

under 28 U.S.C. §1291, 28 U.S.C. §2106 in that this is an appeal from a final decision of the

United States District Court for the Northern District of Illinois seeking to reverse the Judgment

of the District Court granting Summary Judgment on plaintiff’s claim under FOIA in favor of

Defendant, an executive agency of the Federal Government, 28 U.S.C. §1331. The date of entry
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of the final judgment sought to be reviewed is November 10, 2020; the order granting summary

judgment was entered March 23, 2020. The appeal is from an order and final judgment that

adjudicated all of the claims with respect to all named parties, and no parties or issues remain

pending before the District Court. Appellant did not file a motion for new trial or alteration of the

Judgment. The notice of Appeal was filed on December 15, 2020.




                               Respectfully submitted,
                               _____s/ Nicolette Glazer Esq.________
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                               ATTORNEY FOR APPELLANT




CERTIFICATE OF SERVICE

On 23 December 2020 a copy of this pleading was submitted for filing and service on all

registered parties entitled to service via CM/ECF.

                               Respectfully submitted,
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